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                  Exhibit -
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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MARYLAND


 STATE OF MARYLAND, ET AL.,

          Plaintiffs,
                                              Case No.: 1:25-cv-
              v.

UNITED STATES DEPARTMENT OF
    AGRICULTURE, ET AL.,

         Defendants.
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                             DECLARATION OF SCOTT MELVIN

        I, Scott Melvin, declare as follows:

        1.      I am a resident of the State of New York. I am over the age of 18 and have personal

knowledge of all the facts stated herein, except as to those matters stated upon information and

belief; as to those matters, I believe them to be true. If called as a witness, I could and would testify

competently to the matters set forth below.

        2.      I am the Executive Deputy Commissioner of the New York State Department of

Labor (NY DOL) and have nearly 30 years of government experience, including over 11 years at

NY DOL. I began my tenure with NY DOL as a Special Assistant to the Commissioner in 2014,

advanced to Chief of Staff in 2016, and became Acting Executive Deputy Commissioner in 2020,

followed by my appointment to my current role in 2021. I am responsible for the comprehensive

management of NY DOL’s day-to-day operations and spending, overseeing 14 distinct divisions

and offices within NY DOL, including the Workforce Development, Unemployment Insurance,

and Worker Protection divisions.

        3.      The NY DOL is responsible for helping New Yorkers find the careers they will

love by connecting them to employment, training, and up-skilling opportunities. As part of this

mission, we assist workers who have been laid off from their jobs and process unemployment

applications. NY DOL performs this function for all New Yorkers, including those who were

employed by the federal government. As Executive Deputy Commissioner, I have access to data

maintained by NY DOL documenting recent layoffs of federal workers in New York State.

        4.      We have seen a significant increase in our most recent data of New Yorkers

terminated by the federal government and seeking unemployment benefits. From January 21 –

February 20, NY DOL received 178 new unemployment claims from federal employees. From



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February 21 – February 27, the most recently available data set, NY DOL logged an additional

372 new unemployment claims from federal employees.

          5.    These layoffs will require us to assist more New Yorkers and process more

unemployment applications than expected, as we were not prepared for these numbers.

          6.    NY DOL is designated as New York State’s lead workforce development agency

pursuant to N.Y. Labor Law § 851. In this capacity, NY DOL oversees a Rapid Response program

that facilitates immediate assistance to New Yorkers subject to mass layoffs as required by the

federal Workforce Innovation and Opportunity Act, 29 U.S.C. § 3174(A)(2)(i). NY DOL’s no-

cost services include, but are not limited to, skill-based resume development, access to user

friendly job search tools, and opportunities to engage in mock interviews to improve interviewing

skills.

          7.    The federal Worker Adjustment and Retraining Notification Act imposes notice

requirements on private employers with respect to certain mass layoffs. Similarly, pursuant to 5

U.S.C. § 3502(d)(3)(A)(i), the federal government is required to notify “the State or entity

designated by the State to carry out rapid response activities under section 134(a)(2)(A) of the

Workforce Investment Act of 1998” of a plan for a reduction-in-force (RIF) of federal employees,

generally at least 60 days in advance of any proposed RIF. Pursuant to 29 U.S.C. § 3361(a), the

reference to section 134(a)(2)(A) of the Workforce Investment Act of 1998 is deemed to refer to

the Workforce Innovation and Opportunity Act, 29 U.S.C. § 3174(A)(2)(i). The notice required by

5 U.S.C. § 3502(d)(3)(A) is intended to trigger rapid response activities since it is directed to the

state entity required to carry out rapid response activities.

          8.    To the best of my knowledge, NY DOL has not received any notices under 5 U.S.C.

§ 3502(d)(3)(A) since January 20, 2025.



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                Executed on March 6, 2025, at New York, New York,



                                                /s/ Scott Melvin
                                                Scott Melvin
                                                Executive Deputy Commissioner
                                                New York State Department of Labor


*Counsel hereby certifies she has a signed copy of the foregoing document available for inspection at any
time by the court or a party to this action.




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